
705 S.E.2d 753 (2011)
PARKWAY UROLOGY, P.A. d/b/a Cary Urology, P.A.
v.
NORTH CAROLINA DEPARTMENT OF HEALTH AND HUMAN SERVICES, Division of Health Service Regulation, Certificate of Need Section and
Raleigh Hematology Oncology Associates, PC d/b/a Cancer Centers of North Carolina, AOR Management Company of Virginia, LLC, Rex Hospital, Inc., and Wake Radiology Oncology Services, PLLC
Wake Radiology Oncology Services, PLLC
v.
North Carolina Department of Health and Human Services, Division of Health Service Regulation, Certificate of Need Section and
Raleigh Hematology Oncology Associates, PC d/b/a Cancer Centers of North Carolina, AOR Management Company of Virginia, LLC, Rex Hospital, Inc., and Parkway Urology, P.A. d/b/a Cary Urology, P.A.
Rex Hospital, Inc.
v.
North Carolina Department of Health and Human Services, Division of Health Service Regulation, Certificate of Need Section and
Raleigh Hematology Oncology Associates, PC d/b/A Cancer Centers of North Carolina, AOR Management Company of Virginia, LLC, Parkway Urology, P.A. d/b/a Cary Urology, P.A., and Wake Radiology Oncology Services, PLLC.
No. 456P09-2.
Supreme Court of North Carolina.
February 3, 2011.
Forrest W. Campbell, Jr., Greensboro, for Parkway Urology, P.A., et al.
Frank S. Kirschbaum, Raleigh, for Wake Radiology Oncology Services.
Gary S. Quails, Morrisville, for Rex Hospital, Inc.
June S. Ferrell, Assistant Attorney General, for NCDHHS.
William R. Shenton, Raleigh, for Cancer Centers of NC and AOR Management Co. of VA, LLC.
K. Edward Greene, Raleigh, for Cancer Centers of NC.

ORDER
Upon consideration of the petition filed on the 24th of August 2010 by Petitioner (Wake Radiology Oncology Services, PLLC) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd of February 2011."
